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VAN−019 Deficiency Notice − Petitions (BNC) − Rev. 07/02/2018

                              UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF NORTH CAROLINA
                                                            Raleigh Division

IN RE:
Leonard Doliveira                                                   CASE NO.: 19−01590−5−SWH
( debtor has no known aliases )
9001 Sweetbrook Ln                                                  DATE FILED: April 9, 2019
Apt 303
Raleigh, NC 27615                                                   CHAPTER: 7


Tracyann Doliveira
 ( debtor has no known aliases )
9001 Sweetbrook Ln
Apt 303
Raleigh, NC 27615



                                                        DEFICIENCY NOTICE

To: Leonard and Tracyann Doliveira
The above referenced petition has been filed. In order for the case to be administered, it is necessary that
the item(s) described below be filed by April 23, 2019 .

Declaration Concerning Debtors Schedules, Schedules A − J, Statement of Affairs and Statement of
Current Monthly Income Certificate of Credit Counseling,

Pursuant to §521(i)(1) of the Bankruptcy Code, this case may be automatically dismissed effective on the
46th day after the date of the filing of the petition if the above listed deficiency is not corrected. Should the
case be dismissed and the debtor(s) file another petition within one year, the automatic stay may be limited
to 30 days or may not go into effect absent a motion and order imposing or extending the automatic stay.

The Statement of Intent must be filed by May 9, 2019 .

The Summary of Your Assets and Liabilities and Certain Statistical Information must be filed by April 23,
2019 .

The Certificate of Completion of pre−petition Credit Counseling Course must be filed by April 23, 2019 .

Pursuant to Bankruptcy Rule 1008, all petitions, lists, schedules, statements, and amendments should be
verified or contain an unsworn declaration as provided in 28 U.S.C. 1746.

The three day mailing period as provided for under Rule 9006(f), Federal Rules of Bankruptcy Procedure,
does not apply.

DATED: April 9, 2019

                                                                   Erin Donnery
                                                                   Deputy Clerk
